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UN|TED STATES OF A|V|ER[CA,

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v. Cr. NO. 05-10067-T/An
DONALD ALLEN HOLT,

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on August 23, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAME: Dianne Smothers
ADDRESS:

TELEF’HONE:

The defendant, through counse|, Waived formal arraignment and entered a plea of not
guilty.

A|| motions shall be filed within thirty (30) days from the date hereof unlessl for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

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S. THOMAS ANDERSON
United States |V|agistrate Judge

Charges: unlawful transport of firearms
Assistant U.S. Attorney assigned to case: Poweil

Ru|e 32 was not waived.

Defendant's age: 3 l

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRch on 09 ' 01`€5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
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September 1, 2005 to the parties listed.

 

J ames W. PoWell

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FEDERAL PUBLIC DEFENDER
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Honorable J ames Todd
US DISTRICT COURT

